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                22-972             IN THE


   United States Court of Appeals
                     FOR THE SECOND CIRCUIT

                       d
CHASE WILLIAMS , individually and on behalf of all others similarly situated,
                                                            Plaintiff-Appellant,
         JD ANDERSON , COREY HARDIN , ERIC LEE , individually
      and on behalf of all others similarly situated, BRETT MESSIEH ,
    DAVID MUHAMMAD , RANJITH THIAGARAJAN , TOKEN FUND I LLC,
                                                     Lead-Plaintiffs-Appellants,
                                —against—

                       BINANCE , CHANGPENG ZHAO ,
                                                         Defendants-Appellees,
                           YI HE , ROGER WANG ,
                                                                    Defendants.

              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


               BRIEF FOR DEFENDANTS-APPELLEES



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                 CORPORATE DISCLOSURE STATEMENT

      In accordance with Rule 26.1 of the Federal Rules of Appellate Procedure,

Binance hereby states that it has no parent corporation and no publicly held

corporation owns 10% or more of its stock.
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                        JURISDICTIONAL STATEMENT

      The District Court had original jurisdiction over this matter pursuant to 28

U.S.C. § 1331 and 15 U.S.C. §§ 77v and 78aa(a) as to the claims that plaintiffs-

appellants (“plaintiffs”) asserted under the Securities Act of 1933 (the “Securities

Act”) and the Securities Exchange Act of 1934 (the “Exchange Act”), and

supplemental jurisdiction pursuant to 28 U.S.C. § 1367 as to plaintiffs’ state law

claims. The District Court also had original jurisdiction over this matter pursuant

to 28 U.S.C. § 1332(d)(2) because plaintiffs filed this action as a class action and

alleged that (i) the matter in controversy exceeded $5,000,000 and (ii) at least one

putative class member is a citizen of a state different from at least one defendant.

This Court has jurisdiction over this appeal pursuant to 28 U.S.C. § 1291 because it

is an appeal from the District Court’s final order and judgment.

           STATEMENT OF ISSUES PRESENTED FOR REVIEW

      1.     Whether plaintiffs’ purchases of cryptocurrency tokens were domestic

transactions subject to the federal and state securities laws, when their complaint

alleges that they transacted on a foreign exchange and fails to plead with facts that

they incurred irrevocable liability to complete the transactions (or that title to the

tokens passed) within the United States.

      2.     Whether the statute of limitations under Section 13 of the Securities

Act, which requires a Section 12(a)(1) claim to be brought “within one year after
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the violation on which it was based,” bars plaintiffs’ Section 12(a)(1) claims,

where defendants’ only alleged “violations” are purported acts of solicitation that

occurred over a year before this lawsuit commenced.

      3.     Whether the one-year statute of limitations applicable to claims under

Section 29(b) of the Exchange Act, which begins to run when a plaintiff acting

with reasonable diligence could have discovered the alleged violation, bars

plaintiffs’ Section 29(b) claims to void their contracts with Binance, where

plaintiffs asserted their claims long after they allege that the facts that rendered

those contracts voidable were “well known.”

      4.     Whether the District Court correctly held that the named plaintiffs

could not prosecute state-law claims on behalf of absent putative class members

after it determined that the named plaintiffs had no viable claims of their own.

                          STATEMENT OF THE CASE

      This securities action arises from plaintiffs’ alleged purchases of

cryptocurrency tokens from third parties on Binance, a foreign digital asset trading

platform. In a belated attempt to rescind those purchases and recover the fees they

paid Binance, plaintiffs seek to apply the securities laws extraterritorially to

transactions that took place (and became binding) on an exchange located outside

the United States.



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      Applying well-established legal principles, the United States District Court

for the Southern District of New York (Hon. Andrew L. Carter Jr., J.) properly

dismissed plaintiffs’ Second Amended Class Action Complaint (the “complaint”).

The federal and state securities laws apply to domestic transactions, not foreign

ones like those at issue. This remains so even if the buyer is a U.S. resident or

places its buy order from the United States. Under the federal securities laws,

moreover, claims based on alleged violations that occurred or were reasonably

discoverable more than a year before the filing of the complaint are untimely. The

District Court faithfully followed these rules. Its dismissal order was fully

consistent with the Supreme Court’s ruling in Morrison v. National Australia.

Bank Ltd. and this Court’s opinion in Absolute Activist Value Master Fund Ltd. v.

Ficeto, as well as this Court’s other precedents and the reasoning of several

Southern District of New York decisions dismissing materially identical claims.

This Court should affirm.

      As they did below, plaintiffs fail to identify any factual allegations in the

complaint that, if credited, would establish that the token purchases at issue were

domestic transactions subject to U.S. law. As this Court has held, the touchstone

for determining whether a transaction is domestic is the location where irrevocable

liability to complete the purchase or sale was incurred or where title was passed.

The complaint is devoid of allegations to support the inference that either of these

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events occurred within the United States for any of the alleged token purchases.

Plaintiffs concede that Binance is not based in the United States, and they do not

allege that Binance maintains any trading operations or facilities in this country.

The “matching” of transactions—i.e., the pairing of an offer to buy with an offer to

sell, forming a binding contract—occurs where an exchange is located, which, in

Binance’s case, is necessarily abroad. Plaintiffs do not allege otherwise, and

documents incorporated in the complaint demonstrate that they could not.

      Instead, plaintiffs advance baseless theories that have been rejected by the

Supreme Court and this Court or are nowhere to be found in the complaint.

Plaintiffs contend that residing in the United States while placing buy orders

suffices for domesticity if at least one transactional step that binds the plaintiff to

the transaction also occurs in the United States. But this “purchase-order plus”

theory finds no support in Circuit precedent, and merely repackages the discredited

“conduct and effects” test that the Supreme Court rejected in Morrison. In

addition, the complaint nowhere alleges that plaintiffs’ token purchases were even

recorded on a third party’s (Ethereum’s) blockchain, much less that they became

irrevocable only when “validated” on nodes of that blockchain. Plaintiffs cannot

amend their complaint in their briefs to this Court. But even if they could, their

theory would fail, both because transaction validation occurs after the trading

counterparties have already incurred irrevocable liability and because, according to

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the very source plaintiffs cite for their novel theory, validation could occur

anywhere simultaneously.

      Plaintiffs’ federal claims fail for the additional, independent reason that they

are untimely. Plaintiffs largely concede as much—they do not appeal the

limitations-based dismissal of their claims as to most of the token purchases

alleged in the complaint. And they cannot resurrect their time-barred claims as to

the limited set of transactions on which they do appeal—alleged purchases of two

tokens within the year before they sued. The statute of limitations governing

plaintiffs’ claims under Section 12(a)(1) of the Securities Act runs for one year

“after the violation upon which it was based.” Plaintiffs base their claims on

allegations that offering and selling the tokens violated Section 5 of the Securities

Act because they were unregistered securities. Plaintiffs, however, do not allege

that Binance actually sold them any tokens, so the only “violation” upon which

plaintiffs can sue Binance is for purportedly “offering” them tokens—i.e.,

soliciting their purchases. But the complaint does not allege that Binance engaged

in any conduct that could even conceivably constitute solicitation after February

2019—more than a year before plaintiffs filed suit. Plaintiffs contend that every

time they bought a token from some unidentified third party, the statute of

limitations for their claims against Binance restarted, and that their Section 12



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claims therefore are timely. But this interpretation disregards the Securities Act’s

text, and, in any event, is illogical and unsupported.

      Plaintiffs’ attempt to reinstate their time-barred claims under Section 29(b)

of the Exchange Act likewise fails. Plaintiffs allege that their contracts with

Binance violate the Exchange Act and therefore are voidable under Section 29(b)

because Binance supposedly was required to register as a national securities

exchange and broker-dealer but did not. Under Circuit precedent, however, a

contract is voidable under Section 29(b) only if it is illegal on its face and

incapable of lawful performance when made. Moreover, the statute of limitations

for Section 29(b) claims runs for one year from constructive discovery of the facts

constituting the violation. As the District Court correctly determined, plaintiffs’

own allegations demonstrate that the purported violation—Binance’s alleged

failure to register—was well known and readily discoverable through the exercise

of reasonable diligence when each plaintiff entered into Binance’s terms of use,

which are the only contracts plaintiffs allegedly had with Binance. Because

plaintiffs entered these contracts well over one year before commencing this

action, their Section 29(b) claims are untimely.

      Plaintiffs attack the District Court for supposedly imputing a knowledge

defense into Section 29(b), but their contention misconstrues the constructive

knowledge standard applicable under the statute of limitations. Similarly, their

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assertion that their claims are timely under a different clause of Section 29(b),

which contains a special statute of limitations for transactions induced by fraud is

wrong. As plaintiffs concede, that statute of limitations is inapplicable because

they have not alleged fraud.

      The District Court also correctly held that where the named plaintiffs’ claims

were all subject to dismissal, the dozens of additional state-law claims that

plaintiffs purport to assert on behalf of absent putative class members—but have

no ability to assert on their own behalf—must also be dismissed.

      Finally, the District Court properly dismissed the complaint with prejudice,

as plaintiffs amended their complaint multiple times below and never sought leave

to amend again or identified additional factual allegations that would allow them to

plead plausible claims.

      For all these reasons, this Court should affirm in its entirety the District

Court’s judgment dismissing the complaint.




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                           FACTUAL BACKGROUND

      Plaintiffs’ claims arise from their alleged purchases of digital,

cryptocurrency “tokens.” Plaintiffs allege that these tokens utilize nonparty

Ethereum’s blockchain and “ERC-20” protocol. (A-178–79, ¶¶56–59, 62.)1

      Binance is a foreign cryptocurrency trading platform (A-170–72, ¶¶23, 26–

28), and defendant Changpeng Zhao is Binance’s Chief Executive Officer2 (A-171,

¶26). According to plaintiffs, Binance is an “online exchange,” and investors who

wish to “purchase Bitcoin and other crypto-assets” may do so on “[o]nline crypto-

asset exchanges” like Binance, which “are similar to traditional exchanges in that

they provide a convenient marketplace to match buyers and sellers of virtual

currencies.” (A-162, 175, ¶¶1, 46; see also A-175, ¶45.) Binance allegedly lists

digital tokens of third-party issuers for trading.3 (A-162–63, 167, ¶¶1, 4, 12.)

      Binance is not headquartered in the United State and does not have any

operations here. (A-170–72, ¶¶24, 26–28.) Plaintiffs allege that Binance was

headquartered at various times in China, Japan and Malta, but that its operations


1
 Citations in the form “A-__” are to the Joint Appendix. Citations in the form
“SPA-__” are to the Special Appendix submitted with the opening Brief for
Appellants (“App. Br.”).
2
 Plaintiffs voluntarily dismissed their claims against two other individual
defendants. (A-12, Dkt. 63.)
3
 Plaintiffs also allege that Binance issued its own token (A-170, ¶23), but it is not
at issue here because plaintiffs do not allege they purchased it.

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are decentralized. (Id.; A-253, ¶326.) Plaintiffs allege that Binance has certain

limited ties to the United States, including that (1) some portion of Binance’s

fluctuating user base consists of U.S. residents (A-254, ¶329), and (2) Binance

contracts with Amazon Web Services, a U.S. cloud computing company, to host its

website, and some Amazon servers and data centers are in California (A-170–71,

253, ¶¶24, 327).

      Plaintiffs are cryptocurrency traders located in Texas, Nevada, New York,

Florida, California, and Puerto Rico. (A-168–70, ¶¶15–22.) All plaintiffs allege

that they traded “pursuant to contracts with … Binance” (id.), and that they began

transacting on Binance by May 8, 2018 (see A-15–149; A-522–24 (showing each

plaintiff’s first purchase of each token at issue)). In doing so, they entered into

Binance’s terms of use, the only contracts that plaintiffs allegedly had with

Binance. (A-265, 268, ¶¶375, 386; see also A-498 (providing that transacting on

Binance constitutes acceptance of terms of use), A-589 (same, in subsequent

iteration of terms of use), A-597 (same).)4




4
  On an appeal from a Rule 12(b)(6) motion to dismiss, this Court may consider the
terms of use as documents incorporated by reference in the complaint, integral to
plaintiffs’ claims, or otherwise judicially noticeable. Gamm v. Sanderson Farms,
Inc., 944 F.3d 455, 462 (2d Cir. 2019), Cortec Indus., Inc. v. Sum Holding L.P.,
949 F.2d 42, 47, 48 (2d Cir. 1991).

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       Plaintiffs allege that, “pursuant to and consistent with [Binance’s] terms of

use” (A-265, 268, ¶¶375, 386), they purchased certain tokens “on” Binance’s

platform while residing in the United States (A-168–170, ¶¶15–22 (emphasis

added)). Plaintiffs do not allege that they purchased these tokens—ELF, EOS,

ICX, OMG, TRX, QSP, KNC, and LEND5 (the “Tokens”)—from Binance, or that

Binance issued them. Rather, the complaint identifies nonparty issuers for each

Token, who allegedly published whitepapers and engaged in other activities to

market their Tokens. (See, e.g., A-179, 198, 213–14, 225–26, 229, 231, 236, 238,

241, 245, 247 ¶¶66, 109 (TRX), 151–52 (EOS), 196–99 (QSP), 215–16 (KNC),

255–56 (ICX), 269–70 (OMG), 287 (LEND), 297–98 (ELF).)

       By contrast, Binance’s alleged conduct with respect to the Tokens is limited

to (i) generally advertising its trading services; (ii) agreeing to list tokens; (iii)

announcing listings via email and social media; (iv) re-publishing third-party

research about Tokens on its website; and (v) providing trading services, including

currency conversion and a FAQ page, on its website. (A-183, 187–89, 193–96,

¶¶79, 92–93, 95, 99–101.) Plaintiffs do not allege that Binance urged plaintiffs to

purchase particular Tokens or managed the flow of Token-related information to



5
 Plaintiffs dropped their claims concerning three other tokens (BNT, CVC, and
SNT) after defendants argued that the complaint did not allege that any named
plaintiff had purchased them. (Dkt. 64, at 3 n.3.)

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potential investors. Nor do they allege that they viewed Binance’s listing

announcements or the third-party research that Binance allegedly republished.

      The complaint contains no non-conclusory allegations about where the

Token purchases occurred. The complaint circularly alleges that because all

plaintiffs resided in the United States when they bought the Tokens, the purchases

were “effected in” each plaintiff’s state of residence. (A-168–70, ¶¶15–22.) The

complaint also alleges, on information and belief, that “title for the tokens …

passed in whole or in part over servers located in California that host Binance’s

website.” (Id.) The complaint does not, however, allege the factual basis or source

for that belief. Nor does the complaint allege when or where plaintiffs’ purchases

became irrevocable. Binance’s terms of use, which are incorporated by reference

in the complaint, confirm that users can no longer “change, withdraw, or cancel”

transactions after “matching” occurs—i.e., after one Binance user’s “Order has

been matched with an Order from another user.” (See A-504; A-605.) Plaintiffs

do not and cannot allege that matching occurred anywhere other than on Binance’s

platform.

      For six of the eight Tokens (QSP, KNC, ICX, OMG, LEND, and ELF),

plaintiffs’ alleged purchases all occurred more than one year before they filed suit.

(A-522–23; see also A-15–149.) Plaintiffs (besides Anderson, Lee and Messieh)



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allege that they made certain purchases of the other two Tokens (TRX and EOS)

within a year of commencing this action. (Id.)

        Plaintiffs assert that the Tokens are securities, and that selling them without

first registering them violated federal and state securities laws. (A-162, ¶1.) The

complaint includes hundreds of paragraphs asserting that investors did not

understand the Tokens were securities until April 2019, when a unit of the U.S.

Securities and Exchange Commission (the “SEC”) released a “Framework for

‘Investment Contract’ Analysis of Digital Assets” (the “Framework”), which was

informal, unofficial guidance6 discussing when digital assets may qualify as

securities under the 73-year-old investment contract test that the Supreme Court

announced in SEC v. W.J. Howey Co., 328 U.S. 293 (1946). (See A-201–53,

¶¶120–325.) Plaintiffs do not allege that the Framework provided any additional

facts that led them or others to conclude that digital tokens in general or the Tokens

in particular were securities—indeed, the Framework does not mention the Tokens

at all. Rather, plaintiffs allege that the Framework “clarified” a legal interpretation

under which the Tokens could be deemed securities. (A-201, ¶120.) Well before

April 2019, however, the SEC had already concluded—in formal reports,




6
    See Framework, A-537, 544 n.1.

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enforcement actions and public statements, which the Framework itself cites7—that

digital tokens similar to the Tokens were securities.

      Plaintiffs also allege that Binance operated as an unregistered broker-dealer

and/or unregistered national securities exchange (A-264, 266–67, ¶¶372–73, 382–

85), but do not allege that they ever believed Binance was registered or that it ever

concealed its lack of registration. Indeed, they allege that Binance urged users to

utilize virtual private networks to access its site from the United States, because it

is “well-known that VPNs are necessary for U.S. purchasers to access unregistered

crypto-asset exchanges, like Binance.” (A-254, ¶330 (emphasis added); see also

A-184, ¶82.) At all relevant times, moreover, Binance’s lack of registration was

readily discoverable by viewing the SEC’s public website or data available there.

(A-526–36.)

                            PROCEDURAL HISTORY

      Plaintiffs and their counsel filed the original complaint in this action, as well

as eleven similar cryptocurrency cases, on April 3, 2020, and an amended


7
  Framework, A-544–46 nn.1, 8, 9, 16; see also A-547–582 (attaching referenced
reports and public statements, among others). Citing these materials, defendants
argued below that any plaintiff exercising reasonable diligence would have
discovered that the Tokens allegedly were securities more than a year before
plaintiffs filed this lawsuit. (Dkt. 59, at 22–25.) The District Court did not reach
this issue because it concluded that plaintiffs’ Section 12 claims were not subject to
tolling (SPA-4-5), and plaintiffs have abandoned any contrary argument on appeal
(App. Br. 28 n.10).

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complaint on September 11, 2020. (A-5, 10, Dkts. 1, 43.) Plaintiffs filed the

third—and now operative—complaint on December 15, 2020, after receiving

defendants’ premotion conference letter, which laid out in detail the defects in the

complaint and the bases for defendants’ anticipated motion to dismiss. (A-10–11,

Dkt. 50–55.) The complaint purports to assert 154 causes of action under the

Securities Act, the Exchange Act and the Blue Sky statutes of 49 jurisdictions. (A-

262–487.)

      Defendants moved to dismiss the complaint. (A-11, Dkt. 58–60.)8 On

March 31, 2022, the District Court granted defendants’ motion and entered

judgment. (A-13, Dkt. 77–78; SPA-11.)

      The District Court first determined that plaintiffs’ federal claims were time-

barred. (SPA-4–7.) The Securities Act Section 12(a)(1) claims were barred under

the applicable one-year limitations period set out in Section 13, which is not

subject to tolling,9 because the complaint did not allege that any plaintiff had

purchased most of the Tokens (QSP, KNC, FUN, ICX, OMG, LEND, and ELF)


8
 During the pendency of defendants’ motion, two other Southern District of New
York courts dismissed plaintiffs’ virtually identical complaints on grounds also
asserted in defendants’ motion. See In re Bibox Group Holdings Ltd. Securities
Litigation, 534 F. Supp. 3d 326 (S.D.N.Y. 2021) (Cote, J.); Holsworth v.
BProtocol Found., 2021 WL 706549 (S.D.N.Y. Feb. 22, 2021) (Hellerstein, J.).
9
  Plaintiffs have not appealed this portion of the District Court’s order and have not
renewed their tolling arguments on appeal. (App. Br. 28 n.10.)

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within one year of filing suit. (SPA-4–5.) Plaintiffs’ claims as to the other Tokens

(EOS and TRX) were also time-barred because Binance’s last alleged act of

solicitation occurred more than a year before plaintiffs filed suit. (SPA-5.)

Plaintiffs’ Exchange Act claims were likewise time-barred under that statute’s one-

year limitations period, which begins running when a plaintiff exercising

reasonable diligence would have discovered the facts constituting the violation.

(SPA-5–7.) A plaintiff exercising such diligence, the District Court held, would

have discovered the alleged underlying violations—i.e., Binance’s lack of

registration—over one year before plaintiffs sued. (Id.)

      The District Court next held that all of plaintiffs’ claims—federal and

state—failed because the relevant statutes do not apply extraterritorially, and

plaintiffs had not alleged that Binance was a domestic exchange or that they

purchased the Tokens in domestic transactions. (SPA-7–10.) Finally, in the

absence of viable claims that plaintiffs could pursue in their own right, the District

Court determined that it did not have to specifically address the claims they

asserted on behalf of absent putative class members under the Blue Sky laws of

states in which plaintiffs did not allege they transacted. (SPA-8–10.) Having

dismissed all of plaintiffs’ claims on these bases, the District Court did not reach

defendants’ other arguments for dismissal.



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                          SUMMARY OF ARGUMENT

      This Court should affirm the District Court’s order and judgment dismissing

the complaint. All of plaintiffs’ claims are based on Token purchases made on a

foreign trading platform. Plaintiffs’ federal securities claims also fail because

plaintiffs waited too long to bring them: Their claims under Section 12(a)(1) of the

Securities Act are premised exclusively on claimed acts of solicitation by Binance,

but the complaint alleges no acts of solicitation within the one-year limitations

period. Plaintiffs’ claims under Section 29(b) of the Exchange Act are likewise

untimely, because plaintiffs’ allegations demonstrate that a reasonable person

would have discovered the claimed violation—Binance’s lack of registration—

well over a year before plaintiffs sued.

      First, the District Court correctly held that the federal and state securities

laws do not apply to plaintiffs’ claims because plaintiffs do not allege that their

transactions on Binance were domestic. A transaction is “domestic” only if

“irrevocable liability is incurred or title passes within the United States.” Absolute

Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 67 (2d Cir. 2012).

Plaintiffs’ complaint contains no allegations regarding where they incurred

“irrevocable liability” for their transactions, and only the most rote and conclusory

allegation (which they do not even mention on appeal) that “title” to the Tokens

they purchased “passed in whole or in part” in the United States. (A-168–70,

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¶¶15–22.) Plaintiffs’ alternative proposed test for domesticity—allegations of U.S.

purchase orders plus some additional transactional step in the United States—

essentially repackages the now-defunct “conduct and effects” test and contravenes

Circuit precedent.

      Plaintiffs cannot escape the conclusion that their claims are based on

extraterritorial transactions by arguing—for the first time on appeal—that they

incurred irrevocable liability when their transactions were “validated” on the

“nodes” of the Ethereum blockchain. Plaintiffs have waived this argument, which

appears nowhere in their complaint. But it has no merit in any event: Plaintiffs’

allegations and Binance’s terms of use confirm that irrevocable liability is incurred

when transactional counterparties are “matched” on Binance’s platform, which, as

plaintiffs concede, is not in the United States. Validation necessarily occurs after

irrevocable liability for the transaction is incurred, and thus cannot affect the

location of the Token purchases. Moreover, the sources plaintiffs themselves cite

on appeal state that Ethereum “nodes” are located around the world and all of those

nodes “validate” transactions on the blockchain simultaneously. Accordingly,

even on plaintiffs’ theory, validation cannot render these transactions domestic.

      Second, the District Court correctly determined that plaintiffs waited too

long to assert claims under Section 12(a)(1) of the Securities Act. Section 12(a)(1)

provides a private right of action for a securities purchaser against “statutory

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sellers” who offer or sell them unregistered securities in violation of Section 5 of

the Securities Act. The limitations period for Section 12(a)(1) claims, set out in

Section 13, runs for one year “from the violation upon which [the claim] is based.”

15 U.S.C. § 77m. Plaintiffs do not allege that Binance actually sold them

securities, so only the “solicitation” prong could potentially apply to Binance.

Under Section 13’s plain language, the limitations period for plaintiffs’ Section 12

claims therefore runs from Binance’s last purported act of solicitation—which, for

each Token, occurred over one year before plaintiffs brought this case. (See A-

195–96, ¶100(d), (l).) Plaintiffs’ contention that their subsequent purchases of

Tokens from third parties restarts the statute of limitations for claims against

Binance finds no support in the Securities Act’s text or this Court’s controlling

decisions. And plaintiffs’ conclusory allegation that Binance engaged in

“continuous solicitation” (A-193–94, ¶99) by announcing listings and posting

Token pricing and trading data does not change that reality.

      Third, plaintiffs’ claims under section 29(b) of the Exchange Act were

correctly dismissed as time-barred. Because Section 29 does not contain an

express statute of limitations applicable to non-fraud-based claims, under the law

of this Circuit, the applicable limitations period runs for one year from when a

plaintiff exercising reasonable diligence would have learned the facts underlying

the violation. See Kahn v. Kohlberg, Kravis, Roberts & Co., 970 F.2d 1030, 1038–

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39 (2d Cir. 1992); Alpha Cap. Anstalt v. Oxysure Sys., Inc., 216 F. Supp. 3d 403,

408 (S.D.N.Y. 2016) (citing Ceres Partners v. GEL Assocs., 918 F.2d 349, 358–59

(2d Cir. 1990)); see also Lampf, Pleva, Lipkind, Prupis & Petigrow v. Gilbertson,

501 U.S. 350, 362 (1991). Here, plaintiffs allege that their contracts with Binance

are unlawful under the Exchange Act and voidable under Section 29(b) because

Binance supposedly acted as an unregistered exchange and broker-dealer. But to

be voidable, a contract must violate the Exchange Act on its face when made.

Plaintiffs do not allege that they were unaware of Binance’s registration status

when they entered into the terms of use—the only contracts they allegedly had

with Binance. Moreover, the complaint’s allegations and the SEC’s judicially

noticeable website demonstrate that Binance’s registration status was public and

readily available through the exercise of “reasonable diligence” at all times.

      Fourth, having dismissed all claims which the named plaintiffs individually

had standing to assert, the District Court correctly dismissed the remaining state-

law claims included in the complaint on behalf of unnamed members of the

putative class. With no viable claims of their own, plaintiffs lacked standing to

assert claims on behalf of absent class members. See, e.g., NECA-IBEW Health &

Welfare Fund v. Goldman Sachs & Co., 693 F.3d 145, 162 (2d Cir. 2012); In re

Bibox Group Holdings Ltd. Securities Litigation, 534 F. Supp. 3d 326, 334



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(S.D.N.Y. 2021). It was thus proper for the District Court to dismiss plaintiffs’

entire complaint.

                               LEGAL STANDARD

      The Court of Appeals reviews a district court’s grant of a motion to dismiss

de novo. See Muto v. CBS Corp., 668 F.3d 53, 56 (2d Cir. 2012); City of Pontiac

Gen. Employees’ Ret. Sys. v. MBIA, Inc., 637 F.3d 169, 173 (2d Cir. 2011). This is

true when the complaint is dismissed on the basis of extraterritoriality, see

Absolute Activist Value Master Fund Ltd. v. Ficeto, 677 F.3d 60, 65–67 (2d Cir.

2012), or the statute of limitations, see Muto, 668 F.3d at 56; City of Pontiac, 637

F.3d at 173.

      To survive a Rule 12(b)(6) motion to dismiss, a complaint must allege facts

plausibly suggesting the defendant’s liability. Bell Atl. Corp. v. Twombly, 550 U.S.

544, 557 (2007). In ruling on a Rule 12(b)(6) motion, the court accepts the

plaintiff’s factual allegations as true, but not “legal conclusion[s] couched as []

factual allegation[s].” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal

citation and quotation marks omitted). To be plausible, a complaint must contain

“enough factual matter” to “raise [the] right to relief above the speculative level.”

Twombly, 550 U.S. at 555-56.




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                                    ARGUMENT

      Plaintiffs’ efforts to reinstate their claims are factually and legally

unsupported. Their claims are based on foreign Token purchases that would

impermissibly require the extraterritorial application of federal and state securities

laws. Their Section 12(a)(1) claims under the Securities Act and Section 29(b)

claim under the Exchange Act are time-barred. And without any viable claims of

their own, plaintiffs cannot pursue state-law claims on behalf of absent class

members. Under these circumstances—particularly given that plaintiffs had

already amended their complaint twice—any attempt to replead would be futile,

and the District Court’s dismissal with prejudice was appropriate. See, e.g.,

Balintulo v. Ford Motor Co., 796 F.3d 160, 171 (2d Cir. 2015) (affirming dismissal

with prejudice based on extraterritoriality); Grace v. Rosenstock, 228 F.3d 40, 53

(2d Cir. 2000) (proposed amendment based on untimely claims was futile).

I.    The District Court Correctly Dismissed Plaintiffs’ Claims Because
      Plaintiffs Do Not Allege That They Purchased the Tokens in Domestic
      Transactions

      The complaint does not allege that plaintiffs’ Token purchases are domestic

transactions that occurred within the United States, dooming all of their claims to

dismissal.

      The federal securities laws do not apply to extraterritorial conduct.

Morrison v. Nat’l Austl. Bank Ltd., 561 U.S. 247, 265, 267–68 (2010) (holding that

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Exchange Act does not generally apply extraterritorially and noting “[t]he same

focus on domestic transactions” under Securities Act). For securities that do not

trade on national securities exchanges, the “exclusive focus” for determining

whether the securities laws apply is whether the challenged transactions involved

“domestic purchases and sales.” Id. at 268; see also In re Petrobras Secs., 862

F.3d 250, 259 (2d Cir. 2017) (where notes did “not trade on any U.S.-based

exchange,” plaintiffs were “only entitled to assert” federal securities claims “if

they can show that they acquired their Notes in ‘domestic transactions’”).10

      The Blue Sky laws under which plaintiffs sued also apply only

domestically.11 As this Court has held—and plaintiffs concede (App. Br. 19 n.5)—

“‘[B]lue Sky laws … only regulate[] transactions occurring within the regulating

States,’” and do not reach non-domestic purchases. Fed. Housing Fin. Agency v.




10
  Morrison also holds that transactions in securities “listed on [] domestic
exchange[s]” are “subject to the securities laws,” 561 U.S. at 270, but plaintiffs do
not appeal the District Court’s ruling that they failed to allege that Binance was a
domestic exchange (SPA-7–8).
11
  See Nev. Rev. Stat. §§ 90.310(1), 90.460 (prohibiting sales of unregistered
securities and by unlicensed broker-dealers “in this State”); P.R. Laws Ann Tit. 10,
§§ 861, 871 (same, “in Puerto Rico”); Cal. Corp. Code §§ 25110, 25130 (same, “in
this state”); Tex. Govt. §§ 4001.056(a)(1), 4001.067(c), 4004.051, (defining
“Dealer” and “Sell” based on conduct “in this state” and prohibiting unregistered
dealers from selling “in this state”) (emphases added). Plaintiffs have not appealed
the dismissal of their Florida law claims.

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Nomura Holding Am., Inc. (“FHFA”), 873 F.3d 85, 156 (2d Cir. 2017) (quoting

Edgar v. MITE Corp., 457 U.S. 624, 641 (1982)).

      Under this Court’s precedents, a transaction is “domestic” if “irrevocable

liability is incurred or title passes within the United States.” Absolute Activist, 677

F.3d at 67. As the District Court correctly determined (SPA 8-9), plaintiffs fail to

allege a domestic transaction under either prong, and none of plaintiffs’

contentions on appeal changes that result.

      A.     Plaintiffs Failed to Allege That They Incurred Irrevocable
             Liability for Their Transactions or That Title to the Tokens
             Passed in the United States

      To satisfy the first prong of the Absolute Activist inquiry, a plaintiff must

allege facts supporting “the plausible inference that … the purchaser incurred

irrevocable liability within the United States to take and pay for a security.”

Absolute Activist, 677 F.3d at 68. A purchaser incurs irrevocable liability when

and where the purchaser/investor “become[s] bound to effectuate the

transaction”—i.e., at the time and place “the parties obligated themselves to

perform what they had agreed to perform.” Giunta v. Dingman, 893 F.3d 73, 79

(2d Cir. 2018) (internal citation and quotation marks omitted). Factual allegations

“concerning the formation of the contracts, the placement of purchase orders, the

passing of title, or the exchange of money” may be relevant but are not dispositive



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to pleading where irrevocable liability was incurred. In re Petrobras Secs., 862

F.3d at 272 (quoting Absolute Activist, 677 F.3d at 70).

      As in Absolute Activist itself, the complaint here contains only conclusory

allegations about where irrevocable liability for completing the Token purchases at

issue was incurred. Plaintiffs allege only that they are “resident[s] of” certain U.S.

states or territories; they “purchased Tokens on Binance, and pursuant to contracts

with and solicitations from Binance,” from those jurisdictions; and their

transactions “were therefore effected in” such jurisdictions. (A-168–170, ¶¶15–

23.) As the District Court properly determined, these allegations fall short. (SPA-

8.) Unsupported by any underlying factual allegations, they amount to little more

than the “mere assertion that the transactions ‘took place in the United States,’”

which is “insufficient to adequately plead the existence of domestic transactions.”

Absolute Activist, 677 F.3d at 70.

      Plaintiffs’ additional assertion that they resided in the United States when

they made their purchases does not overcome this deficiency. As this Court has

consistently held, “a purchaser’s citizenship or residency does not affect where a

transaction occurs.” City of Pontiac Policemen’s & Firemen’s Ret. Sys. v. UBS

AG, 752 F.3d 173, 181 (2d Cir. 2014) (quoting Absolute Activist, 677 F.3d at 69).

The complaint does not allege that plaintiffs placed purchase orders for the Tokens

from their states or territories of alleged residence, but even if it did, this would be

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insufficient. Allegations that a plaintiff “placed a buy order in the United States

that was then executed on a foreign exchange, standing alone” are not sufficient to

establish that plaintiff “incurred irrevocable liability in the United States.” City of

Pontiac, 752 F.3d at 181. Indeed, this Court has repeatedly recognized that the

location from which purchase orders were placed will have particularly little

significance in cases, like this one, that arise in the context of transactions in

alleged securities “on a foreign [alleged] exchange.” Id. at 181 n.33 (citing

Absolute Activist, 677 F.3d at 62, 71). As plaintiffs themselves acknowledge,

“mere placement of a buy order in the United States,” without more, “is

insufficient to create a domestic transaction.” (App. Br. 14.)

      Plaintiffs here do not allege anything more. The complaint does not allege

the identity or location of any of the third parties from whom plaintiffs purchased

their Tokens. It does not allege where the contracts to purchase the Tokens were

formed, or how, where or when plaintiffs became obligated to the sellers to buy

them. It does not allege where the money to buy the Tokens was paid, other than

to say that Binance facilitated payment through “supported third-party services”

and enabled investors to deposit assets “into the Binance exchange.” (A-181, 196,

¶¶76, 101.) And it does not allege where plaintiffs took delivery of the Tokens,

other than stating that Binance “maintains custody of the crypto-assets in each

investor’s wallets.” (A-196, ¶101.) Nor does the complaint allege where the

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purchase transactions were executed, other than “on the Binance exchange.” (A-

162, 196, 259, ¶¶1, 102, 349.) Plaintiffs, however, do not allege that “the Binance

exchange” was in the United States. To the contrary, they affirmatively allege that

Binance is a decentralized, foreign trading platform that was nominally based

abroad, with no “physical headquarters in any geographic jurisdiction”—including

the United States. (A-170–71, 253, ¶¶23, 26, 326.)

      In short, plaintiffs simply do not allege any facts that might support an

inference that irrevocable liability for their Token purchases was incurred in the

United States, see City of Pontiac, 752 F.3d at 181, and all the allegations they do

make indicate that their transactions were extraterritorial.

      Plaintiffs likewise fail to allege that title to the Tokens passed within the

United States under the second prong of the Absolute Activist test. See 677 F.3d at

68. Indeed, plaintiffs have waived any contrary argument because they did not

assert that title passed within the United States before the District Court or in their

opening brief here. See, e.g., Anilao v. Spota, 27 F.4th 855, 873 (2d Cir. 2022);

Wal-Mart Stores, Inc. v. Visa USA, Inc., 396 F.3d 96, 124 n.29 (2d Cir. 2005). Nor

could they have. The sole allegation in plaintiffs’ 327-page complaint concerning

the transfer of title to the Tokens is the bare assertion that, “upon information and

belief, title for the Tokens at issue in those transactions passed in whole or in part

over servers located in California that host Binance’s website.” (A-168–170,

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¶¶15–22.) This purely conclusory assertion is entirely inadequate as a basis for

plaintiffs’ claims. See, e.g., Pension Ben. Guar. Corp. v. Morgan Stanley Inv.

Mgmt. Inc., 712 F.3d 705, 717 (2d Cir. 2013) (rejecting “naked assertion[s]” and

“legal conclusion[s] couched as a factual allegation” (quoting Twombly, 550 U.S.

at 555, 557)).

      B.     Plaintiffs’ Purported “Purchase Order-Plus” Test Contravenes
             Controlling Authority
      Unable to meet the Absolute Activist test, plaintiffs invent a purported test of

their own: “[a]llegations that a plaintiff placed purchase orders in the United

States and that additional transactional steps binding the plaintiffs to the

transaction took place in the United States suffice to plead a domestic transaction.”

(App. Br. 19.) But this “purchase-order plus” test finds no legal support. Indeed,

plaintiffs’ focus on “additional transactional steps” that may have taken place in

the United States—regardless of whether irrevocable liability was incurred at any

of those steps—amounts to an attempt to revive the now-rejected “conduct and

effects” test, under which a transaction was domestic if “the wrongful conduct

occurred in the United States” or “the wrongful conduct had a substantial effect in

the United States.” Morrison, 561 U.S. at 255 (internal citation and quotations

omitted).

      The additional allegations that plaintiffs purport to identify, moreover, have

either been explicitly rejected by this Court as an insufficient basis for pleading
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domestic transactions or have nothing to do with where irrevocable liability was

incurred. Plaintiffs assert that they “were solicited to purchase the Tokens through

marketing targeted at U.S. investors” (App. Br. 25), but allegations that

investments “were heavily marketed in the United States” fail to satisfy Morrison’s

domestic transaction standard. Absolute Activist, 677 F.3d at 70.

      Similarly, plaintiffs assert that “they submitted payment from their states of

residence.” (App. Br. 20–21.) But, an alleged “direction to transfer money using

[U.S.] bank accounts to purchase” securities does not “suffice to demonstrate a

domestic transaction.” Banco Safra S.A.-Cayman Islands Branch v. Samarco

Mineracrao, S.A., 849 F. App’x 289, 294 (2d Cir. 2021) (summary order) (citing

Loginovskaya v. Batratchenko, 764 F.3d 266, 275 (2d Cir. 2014)). As this Court

explained in Loginovskaya, even a direction to deposit money into a U.S. bank

account will not establish that a transaction is domestic, because while payments

are “actions needed to carry out the transactions,” they are “not the transactions

themselves” and occur after the parties incurred irrevocable liability to complete

the purchase and sale. See Loginovskaya, 764 F.3d at 275.

      Nor does it suffice for plaintiffs to tack on an allegation that they made

payments “via Binance’s crypto-asset exchange hosted on U.S. computer

infrastructure” and therefore “use[d]” that infrastructure to make their purchases.

(App. Br. 21, 25–26.)

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      First, plaintiffs’ allegations regarding where Binance’s computer

“infrastructure” is located are remarkably thin. Plaintiffs allege only that, “upon

information and belief,” Binance utilized “computer servers” provided by third-

party vendor Amazon Web Services, and that “several” of Amazon’s “Availability

Zones,” “data centers” and support hardware are located in the United States,

including “a significant portion” of those hosting Binance. (A-170–71, ¶24.) But

these allegations, by their terms, necessarily admit that some Amazon servers are

physically located outside the United States, and plaintiffs offer no support for

their “belief” that Binance is hosted only on Amazon infrastructure within the

United States. Plaintiffs “cannot merely plop ‘upon information and belief’ in

front of a conclusory allegation and thereby render it non-conclusory.” Citizens

United v. Schneiderman, 882 F.3d 374, 384-85 (2d Cir. 2018).

      Second, plaintiffs’ web server allegations are functionally no different from

saying that plaintiffs routed their purchase orders and payments through the United

States. Such allegations fall short because they say nothing about how, when or

where plaintiffs became irrevocably committed to completing the trades. See

Loginovskaya, 764 F.3d at 275, City of Pontiac, 752 F.3d at 181. This is logical:

when a foreign electronic trading platform contracts with a third-party cloud

computing vendor, the vendor’s decisions about where to place its physical

infrastructure do not establish when or where buyers and sellers who use the

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trading platform incur liability to each other. The transactions, and how they are

physically implemented, are two different things, and a foreign transaction does

not become domestic under Morrison merely because a third party’s machinery in

the United States may be “needed to carry out the transactions” or “implement[] an

aspect of a transaction.” Loginovskaya, 764 F.3d at 275; see also Sonterra Capital

Master Fund Ltd. v. Credit Suisse Grp. AG, 277 F. Supp. 3d 521, 582 (S.D.N.Y.

2017) (holding allegation that “defendants carried out their manipulation from

abroad through servers that happened to route their communications in the United

States” insufficient under Morrison).

      Plaintiffs cite no decision by this Court holding otherwise, much less

supporting their “purchase-order plus” test. Most of the decisions on which

plaintiffs rely are factually far afield—they involved face-to-face dealings between

U.S.-based counterparties concerning non-exchange-listed investments, not

anonymous trading over a platform such as Binance that indisputably is not based

in this country. Moreover, these decisions offer no support for plaintiffs’ position

because they each focused on where the parties became irrevocably obligated to

each other to complete the transaction at issue. For example, in United States v.

Vilar, this Court upheld a jury’s finding that the investments were domestic

transactions because the evidence established that the victims met with the

defendant to discuss the investments, and ultimately executed the relevant

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commitment agreements, in the United States. 729 F.3d 62, 76–78 (2d Cir. 2013).

Similarly, in Giunta, the transaction at issue—an investment in a Bahamian

restaurant—was domestic because the parties allegedly entered into the relevant

contract in New York, where the parties met in person to discuss the investment

and where the plaintiff accepted the defendants’ offer. 893 F.3d at 76–77.

       Nothing in these cases supports plaintiffs’ “purchase-order plus” theory.

Rather, the cases stand for the uncontroversial proposition that when a complaint

alleges (or a litigant proves) facts to establish that an “[a]greement was entered into

in [a U.S. state] and irrevocable liability was incurred in the United States,” the

plaintiff will have “plausibly alleged a domestic transaction cognizable” under

Morrison. Giunta, 893 F.3d at 81-82; see also Vilar, 729 F.3d at 79 (“on this

record,” jury could find that victim “incurred irrevocable liability to purchase [the]

investment while in the United States”). These cases thus provide no assistance to

plaintiffs here because plaintiffs do not allege any facts about where irrevocable

liability for purchasing the Tokens was incurred, let alone that it was incurred in

the United States.12


12
  FHFA, also cited by plaintiffs (App. Br. 24–25), is even more inapposite. Like
Vilar and Giunta, that case does not address where or when irrevocable liability is
incurred when trading with anonymous third parties on a foreign trading platform.
Rather, it addressed which state’s Blue Sky laws applied to individually negotiated,
non-exchange-traded bond purchases. This Court, on clear error review, affirmed
the district court’s conclusion that each party’s traders had been at their principal
(….continued)
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             .


      The last decision plaintiffs rely on, Choi v. Tower Research Capital LLC,

890 F.3d 60 (2d Cir. 2018), is the only one involving exchange-traded investments,

but Choi supports defendants’ position on this appeal. It confirms that, when

trading on an exchange, irrevocable liability attaches when buy and sell orders are

“matched” on the exchange—i.e., when the parties become committed to each

other to complete the transaction. Id. at 67–68. This irrevocable liability is not

vitiated, even if additional actions implementing the trade later occur elsewhere.

Id. In Choi, the parties agreed that matching occurred on CME Globex, an

electronic exchange allegedly “located in” Illinois, and the trades then cleared and

settled on the Korea Exchange (KRX). Id. at 63, 67. This Court held that

irrevocable liability occurred upon matching on the Illinois exchange. Id. at 67–

68. Neither KRX’s rights to cancel a trade prior to settlement in the event of a

mistake, nor its assumption of liability to the parties at clearing, could undo that

result, as these subsequent events did not render the trades “‘revocable’ in any

meaningful sense.” Id. at 68.




places of business when they formed the relevant investment contracts. FHFA,
873 F.3d at 156–58. This Court did not determine, as plaintiffs contend, that the
transactions had occurred at those offices “because” the traders worked there and
the sellers sent offering materials there; it merely held that those were facts that the
district court could consider, together with many other facts—including direct
witness testimony—in forming its conclusion. See id. FHFA is entirely
distinguishable from plaintiffs’ claims here.

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      As Choi makes plain, plaintiffs cannot simply pick any “additional

transactional step[]” (App. Br. 19) occurring in the United States and claim that,

together with their purchase orders, it renders their transactions domestic. Instead,

plaintiffs must identify the specific step at which irrevocable liability attaches.13

Choi further confirms that, to establish where irrevocable liability was incurred in

cases involving exchange-listed investments, like this one, a plaintiff must allege

when and where “matching” occurred. As discussed below, the complaint’s

allegations and the documents it incorporates by reference establish that matching

occurred on the Binance exchange, which concededly was not in the United States.




13
   This Court recently reaffirmed that the critical factor rendering the transactions
domestic in Choi was the parties’ incurrence of irrevocable liability on a domestic
exchange in Illinois, not that additional transactional steps were taken here. See
Banco Safra S.A.-Cayman Islands Branch, 849 F. App’x at 293 n.2 (“We note that
a transaction is also domestic when the two sides of the transaction are
‘matched’—thus forming a binding contract—on an electronic exchange system
within the United States.” (citing Choi, 890 F.3d at 63)).

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      C.    Plaintiffs’ Novel Theory That Validation of ERC-20 Tokens “on
            the Blockchain” Confers Irrevocable Liability is Unalleged and
            Legally Unsupported

      Plaintiffs assert that their purchases of Tokens “became irrevocable upon

being validated on U.S.-based nodes servicing the Ethereum blockchain.” (App.

Br. 26; see also id. at 21–23.) This novel claim has no legal support and appears

nowhere in the complaint. It also affirmatively contradicts the complaint and the

documents incorporated therein.

      The allegations plaintiffs cite to support their validation theory actually say

nothing about when plaintiffs’ purchases became irrevocable and virtually nothing

about validation. (App. Br. 22.) Instead, they make generic reference to Binance

being hosted on Amazon’s computer servers, some of which allegedly are in

California (A-170–71, ¶24), and offer high-level discussions of “Proof of Work”

problems for recording transactions on generic blockchains and “miners” who act

as validators on the Ethereum network (A-175–76, ¶¶44, 50). They also assert that

ERC-20 tokens are built and exchanged on the Ethereum blockchain (A-178,

¶¶56–59), and, in purely conclusory terms, that Binance allegedly somehow

availed itself of “computers on the Ethereum blockchain network located in the

United States” (A-254, ¶328).

      There is not one word in these paragraphs about plaintiffs’ alleged Token

purchases or where those purchases became final and binding—much less about

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those purchases being “validated” on any “nodes.” Indeed, the complaint does not

even mention the word “node.” Plaintiffs, in fact, never even allege that their

transactions on Binance were recorded on the Ethereum blockchain, as opposed to

solely “off-chain” in Binance’s records. A plaintiff cannot amend its complaint on

appeal, and waives arguments like this one that were not presented below. See

Seidl v. Am. Century Cos., Inc., 427 F. App’x 35, 37 (2d Cir. 2011) (summary

order).

      Putting that aside, plaintiffs’ contention is meritless. As described above,

and as multiple courts have recognized, anonymous transactions occurring on an

exchange or trading platform become irrevocable at the site of the exchange, at the

time buy and sell orders are matched and the parties become obligated to each

other to complete the trade. Here, the complaint confirms that matching and

irrevocable liability occurred abroad on the Binance platform, and that Binance’s

platform is not in the United States. The complaint alleges that plaintiffs

purchased their Tokens “on the Binance exchange” (A-162, ¶1), that Binance is a

“cryptocurrency exchange” that “provid[es] a marketplace and facilities for

bringing together buyers and sellers” (A-170, ¶23), and that “[o]nline crypto-asset

exchanges” such as Binance “are similar to traditional exchanges in that they

provide a convenient marketplace to match buyers and sellers of virtual currencies”

(A-175, ¶46; see also A-175, ¶45 (investors “often accomplish[]” acquisition of

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              .


crypto-assets by obtaining them “from someone else … through an online ‘crypto-

asset exchange,” like Binance)). And the terms of use—which plaintiffs

incorporated by reference in the complaint—make clear that following matching,

users may not “change, withdraw or cancel” any purchase or sale order. (A-504;

see also A-605.) Accordingly, individuals transacting on Binance incur

irrevocable liability on the Binance platform at the time of matching—not in the

United States, where plaintiffs acknowledge Binance has no operations (A-170–72,

¶¶23, 26–28 (alleging that Binance is not headquartered in and does not have

operations in the United States); A-253–54, ¶¶326–27 (alleging that Binance’s U.S.

presence is limited to using vendor with some infrastructure and having some

employees in United States)). See Choi, 890 F.3d at 68. Accepting these

allegations, the relevant transactions executed on Binance occurred abroad and

therefore are extraterritorial.

       Plaintiffs’ new assertions regarding validation on Ethereum nodes cannot

change this conclusion. Plaintiffs do not assert that they could alter or cancel their

Token orders after matching but before validation. None of the allegations in their

complaint speaks to the relationship between validation and irrevocable liability

(i.e., the obligation of purchasers and sellers on Binance to complete their

transactions). The complaint never even defines “validation,” besides vaguely

suggesting that it relates to “confirmation of transactions on the network” and “the

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ongoing security of the network.” (A-209, ¶142.) To the extent validation

functions as an “after-sale [trade] confirmation,” however, it “is not irrefutable

evidence of where the antecedent sale occurred.” FHFA, 873 F.3d at 157. And

even if, as plaintiffs claim, validation is necessary to finalize transactions in the

Tokens, it is conceptually no different from events such as clearing and

settlement—none of which establishes where the parties earlier incurred

irrevocable liability to each other. Choi, 890 F.3d at 68; see also In re Petrobras

Secs. Litig., 150 F. Supp. 3d 337, 342 (S.D.N.Y. 2015) (holding domestic DTC

settlement of securities transactions and recording of beneficial ownership are

“insufficient to satisfy Morrison” because they lack “substantive indicia of a

contractual commitment”). In sum, while validation may be “needed to carry out”

or “implement[] an aspect of” previously executed purchases, it does not alter

where, when or how buyers and sellers became obligated to each other and thus

does not bear on whether plaintiffs purchased Tokens in domestic transactions.

See Loginovskaya, 764 F.3d at 275.

      Finally, apart from being legally untenable, plaintiffs’ argument regarding

Ethereum nodes is factually unsupported. The very article on which plaintiffs base

their validation argument states that any transaction processed and recorded on a

blockchain is validated by every single “node” worldwide—i.e., any computer that

has downloaded the software to connect to that particular blockchain. Alexis M.

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             .


Tellerd, Time to Validate Validators: Determining the Legal Duty of

Cryptocurrency Validators Under the Bank Secrecy Act, 8 Nat’l Sec. L.J. 297, 304

& n. 35 (2021) (“Before a transaction is confirmed on the Blockchain, all nodes

must verify the validity of the transaction.” (emphasis added)); see also Shi v. Le,

2022 WL 896963, at *3 n.5 (E.D.N.Y. Mar. 28, 2022) (recognizing that the

“Ethereum network” consists of a “decentralized ledger . . . hosted in a

permissionless manner in ‘nodes’ all over the world.”). Thus, even under

plaintiffs’ novel theory, it makes no difference whether—as they assert—the

“largest cluster” of Ethereum nodes is in the United States (App. Br. 22);

validation of a transaction on Ethereum cannot clarify “where” a blockchain

transaction occurs because, according to plaintiffs’ source, every node—dispersed

throughout the world—simultaneously validates the transaction.14




14
   In re Tezos Securities Litigation, 2018 WL 4293341 (N.D. Cal. Aug. 7, 2018)—
an out-of-circuit, district court decision cited by plaintiffs (App. Br. 25)—is
factually and legally distinguishable. The plaintiff there purchased digital tokens
while in the United States directly from the issuer off a website “run primarily” by
a co-founder “in California.” Id. at *8. Further, the plaintiff purchased the tokens
by contributing Ethereum to the defendants’ initial coin offering, and the complaint
specifically alleged that such contribution became irrevocable only after validation.
Id. Even if such allegations were relevant, the complaint here contains no similar
allegations.

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II.   Plaintiffs’ Section 12(a)(1) Claims are Barred by Section 13’s
      Applicable One-Year Statute of Limitations
      Plaintiffs appropriately dropped their Section 12(a)(1) claims arising from

purchases they allegedly made over one year before filing suit. Their remaining

claims—relating to Tokens EOS and TRX—are also untimely under Section 13 of

the Securities Act because, as the District Court correctly determined (SPA-5),

plaintiffs did not bring suit “within one year of the violation[s] upon which [those

claims are] based,” 15 U.S.C. § 77m.

      A.     The One-Year Statute of Limitations Runs From the “Violation,”
             Irrespective of When a Sale Occurs
      Because plaintiffs did not adequately allege below, and do not contend on

appeal, that Binance passed them title to the Tokens (SPA-5 n.2, App. Br. 33 n.12),

the only “violation” they can pursue against Binance under Section 12 is for

allegedly soliciting their purchases of unregistered EOS and TRX Tokens. Section

12(a)(1) creates a private right of action against anyone who “offers or sells a

security in violation of” Section 5 of the Securities Act, which prohibits sales of

unregistered securities. 15 U.S.C. §§ 77l(a)(1), 77e(a). Section 12 claims,

however, may be asserted only by the person “purchasing such security from” the

defendant. 15 U.S.C. § 77l(a). In Pinter v. Dahl, the Supreme Court held that,

because the term “offer” in Section 12(a)(1) includes the “solicitation of an offer to

buy,” liability under Section 12 extends not only to defendants who pass title, but


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also to those who successfully solicit a purchase—both of whom are considered

“statutory sellers.” 486 U.S. 622, 642–45 (1988) (citing, inter alia, 15 U.S.C.

§ 77b(a)(3) (defining “offer”)); accord In re Morgan Stanley Info. Fund Secs.

Litig., 592 F.3d 347, 359 (2d Cir. 2010).

      The only specific alleged conduct by Binance as to EOS and TRX Tokens is

the republication of third-party research in November 2018 and February 2019 (A-

195–96, ¶100(d), (l))—more than a year before plaintiffs brought this action. Even

assuming that those Tokens were unregistered securities and that this conduct

constitutes “solicitation,” plaintiffs did not bring their claims within one year of

Binance’s last alleged acts of solicitation.15 Thus, under the plain text of Section

13, plaintiffs’ claims are untimely. This should end the inquiry, as courts do not

look beyond unambiguous statutory language when interpreting limitations

provisions. See Rotkiske v. Klemm, 140 S.Ct. 355, 360 (2019).

      Without even attempting to square their interpretation with Section 13’s

plain meaning, plaintiffs assert that the limitations period should run from the date

they allegedly purchased the Tokens from unnamed third parties, rather than from


15
  In the District Court, defendants contested that plaintiffs’ allegations could
amount to solicitation, particularly where plaintiffs do not allege these activities
influenced their purchases. (Dkt. 59 at 13–14.) Defendants further assumed,
solely for purposes of the motion to dismiss, that the Tokens are securities. The
District Court did not pass on either question, and defendants reserve all rights
with respect to those arguments.

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Binance’s purported “violation.” (App. Br. 33–34.) In essence, they argue that the

statute of limitations for their claims against Binance restarted every time they

bought a Token from someone else, no matter how temporally removed those

purchases were from Binance’s conduct. But plaintiffs are legally incorrect. The

cases they cite do not remotely suggest that the limitations period for a solicitation

claim against a defendant should run from a much later and unrelated sale by a

different, unknown third party.

      Plaintiffs lean heavily on Diskin v. Lomasney & Co., 452 F.2d 871 (2d Cir.

1971), a case that preceded Pinter by 17 years. Diskin, however, addressed a

wholly different situation—an underwriter that both solicited and sold securities as

part of a single transaction over the course of several months. In September 1968,

the underwriter offered—without an effective registration statement or

prospectus—to sell the plaintiff shares of not-yet-issued Continental stock, if the

plaintiff agreed to buy currently available stock in a different company, which it

did. See id. at 873. In February 1969, the underwriter transferred the now-issued

Continental shares to the plaintiff without further communication, but still without

delivering a prospectus. See id. The plaintiff sued in January 1970—within one

year of the sale but more than a year from the offer. Id. Diskin thus addressed a

solicitation that could not be completed when made (as the shares did not yet

exist), and simply holds that where an underwriter both solicits and subsequently

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completes a stock sale as part of a single transaction that violated the securities

laws, the limitations period runs from the later date. See id. at 875–76.

      The complaint here does not allege anything comparable. Defendants

purportedly offered to sell and solicited plaintiffs’ purchases of EOS and TRX by

republishing third-party research in November 2018 and February 2019 (A-195–

96, ¶100(d), (l)), when those Tokens already existed and were available (A-213,

¶150; A-231, ¶226). Plaintiffs—who do not allege they even saw this research—

then purchased the Tokens months, and in some cases, more than a year later from

unidentified third parties. (A-523–24; see also A-15–149.) Unlike in Diskin, these

alleged sales did not represent a necessary continuation of a prior solicitation. The

alleged solicitation and the sale were separate acts by unconnected persons.

Nothing in Diskin suggests that Binance can be sued under Section 12(a)(1) for

purported solicitation more than a year before plaintiffs asserted their claims, based

on the happenstance that some unrelated person subsequently completed a sale.16

      Moreover, Diskin’s policy rationale does not support allowing plaintiffs to

sue Binance over a year after the alleged violation on which their claims are based.

The Diskin Court was concerned that a single defendant who both solicited the sale


16
  Wigand v. Flo-Tek, Inc., also cited by plaintiffs, is likewise inapposite. Like
Diskin, and unlike this case, it held that the limitations period for a solicitation and
sale by the same seller as part of a single transaction would be measured from the
sale date. See 609 F.2d 1028, 1030–32, 1033 n.5 (2d Cir. 1979).

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of a security in violation of Section 5 at a time when it could not be sold, and

subsequently completed the sale after it became available, might avoid liability if

the limitations period was not measured from the sale date. Under those

circumstances, “it would be unreasonable to read § 13 as starting the short period

for an action at a date before the action could have been brought.” Diskin, 452

F.2d at 875–76. Here, by contrast, the Tokens were available for sale at the time of

Binance’s alleged solicitation, but plaintiffs allegedly waited until later to purchase

them from someone else. In any event, whatever its merits, this policy cannot

trump Section 13’s plain text, as “‘even the most formidable’ policy arguments

cannot ‘overcome’ a clear statutory directive.” BP P.L.C. v. Mayor and City

Council of Baltimore, 141 S.Ct. 1532, 1542 (2021) (quoting Kloeckner v. Solis,

568 U.S. 41, 56 n.4 (2012)).

      Plaintiffs, moreover, are wrong that their reading of Diskin comports with

Pinter. Nothing in Diskin or Pinter suggests that the “violation” that triggers the

statute of limitations under Section 13 depends on a sale. While Pinter held that

unsuccessful solicitations are not subject to suit under Section 12, that is only

because Section 12 contains a separate “purchase requirement” that “clearly

confines § 12 liability to those situations in which a sale has taken place.” Pinter,

486 U.S. at 644; 15 U.S.C. § 77l(a) (limiting defendant’s liability to “the person

purchasing such security from him”). But that additional requirement—which

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governs who can be a Section 12 plaintiff—is independent from the “activities that

may render a person liable when a sale has taken place.” Pinter, 486 U.S. at 644.

For Section 12(a)(1), there are two such activities: (i) offering or (ii) selling a

security in violation of Section 5. 15 U.S.C. § 77l(a)(1). But solicitation—the

conduct in which Binance allegedly engaged—is covered only by the first because

it is only the statutory definition of “offer” that includes solicitation, not the

definition of “sale.” 15 U.S.C. § 77b(a)(3); Pinter, 486 U.S. at 643. Thus, neither

a purchase nor a sale is required for the underlying “violation” upon which a

Section 12 solicitation claim is based. And the statute of limitations runs for a year

from the date of the “violation,” irrespective of when the sale or purchase occurs.

15 U.S.C. § 77m. Where, as here, the only alleged violation is a solicitation

allegedly constituting an “offer” to sell, nothing in Pinter supports rewriting

Section 13 to run from the date of the sale.

      To hold otherwise would permit plaintiffs to bring solicitation claims against

defendants at any time—no matter how much time has passed since the alleged

solicitation—as long as the plaintiff made the purchase, even if from a totally

unknown third party, in the year preceding suit. This construction would not only

violate the clear statutory language, but would also undermine the key purposes of

statutes of limitations: “‘preventing surprises’” by requiring plaintiffs to pursue

known claims before “‘evidence has been lost, memories have faded, and

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witnesses have disappeared.’” CTS Corp. v. Waldburger, 573 U.S. 1, 10 (2014)

(citing R.R. Telegraphers v. Ry. Express Agency, Inc., 321 U.S. 342, 348–49

(1944)). Plaintiffs’ interpretation should therefore be rejected.

      B.     Plaintiffs’ Vague Allegations Do Not Plead “Continuous
             Solicitation”

      As a fallback, plaintiffs attempt to identify conduct by Binance within one

year of when they sued. They assert that Binance solicited their Token purchases

“continuous[ly]” via its website “by ‘displaying detailed price and trading data of

the Tokens’ that induced Plaintiffs to trade.” (App. Br. 37 (quoting A-193–94,

¶99).) Announcing listings and displaying pricing and trading data, however, does

not constitute solicitation. Were it otherwise, numerous websites and

publications—such as Yahoo! Finance, Bloomberg and the Wall Street Journal, as

well as every securities exchange—would constantly face Section 12 solicitation

liability. That is not the law.

      Solicitation occurs when a party “control[s] the flow of information to a

potential purchaser,” “disseminate[s] material information to investors,” and

“urge[s] the buyer to purchase.” Pinter, 486 U.S. at 644, 646. But “the term

‘solicitation’ does not encompass all activities related to the purchase transaction.”

Craftmatic Secs. Litig. v. Kraftsow, 890 F.2d 628, 636 (3d Cir. 1989). Merely

distributing information about a potential investment does not suffice. For

example, preparing and distributing offering documents at the request of another
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“cannot under any view be considered the kind of solicitation necessary under”

Section 12, Wilson v. Saintine Exploration & Drilling Corp., 872 F.2d 1124, 1126

(2d Cir. 1989), and even “extensive correspondence” from a “major” backer of the

investment will not, without more, constitute solicitation, Capri v. Murphy, 856

F.2d 473, 478–79 (2d Cir. 1988). Thus, a plaintiff cannot sustain a Section 12

solicitation claim by “generally alleg[ing] that the [defendants] solicited sales of

the shares,” where “there are no specific allegations” pertaining to the securities

plaintiffs actually purchased. In re OPUS360 Corp. Secs. Litig., 2002 WL

31190157, at *11 (S.D.N.Y. Oct. 2, 2002) (allegations “speak[ing] in general terms

without reference to any specific acts” are insufficient). Rather, parties can be

liable under Section 12 only if “they solicited the sales in question for a financial

gain.” Wilson, 872 F.2d at 1126 (emphasis added). To allege this, the plaintiff

“must demonstrate [the defendant’s] direct and active participation in the

solicitation of the immediate sale.” Craftmatic Secs. Litig., 890 F.2d at 636.

Ultimately, the plaintiff must “show that [the defendant] actually solicited their

investment,” Capri, 856 F.2d at 478–79, by “persuad[ing] [them] to make a

particular investment,” Wilson, 872 F.2d at 1127. Plaintiffs’ “continuous”

solicitation allegations here do not satisfy these standards.17


17
  For example, plaintiffs cite a 2018 interview that occurred more than a year
before plaintiffs sued and contains only high-level observations about Binance’s
(….continued)
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             .


      Plaintiffs’ allegations that Binance announced token listings and published

pricing and trading data fall short because such allegations do nothing more than

suggest that defendants “distributed . . . marketing materials through their website

and other channels,” which are insufficient under Section 12(a)(1). Youngers v.

Virtus Invs. Partners, Inc., 195 F. Supp. 3d 499, 522 (S.D.N.Y. 2016) (internal

quotation marks omitted). Plaintiffs allege, at best, the “extensive correspondence”

Capri, 856 F.2d at 478, and “ministerial act[s]” that this Court has previously held

insufficient because they do not evince an attempt to “persuad[e]” plaintiffs to “to

make a particular investment,” Wilson, 872 F.2d at 1126–27. Unsurprisingly,

plaintiffs cite no case holding an exchange or finance publication liable for

solicitation based on the publication of price and trading data. Nor do they plead

any facts showing defendants’ “direct and active participation in the solicitation”

of plaintiffs’ EOS and TRX purchases—much less on a continuous basis. See

Craftmatic Secs. Litig., 890 F.2d at 636; see also Capri, 856 F.2d at 478–799.




business model, without mentioning EOS, TRX or any other Token. (A-186, ¶¶87-
89.) Plaintiffs similarly cite allegations that Binance announced via social media
that Tokens were available for trading on its platform. Most of these paragraphs
address Tokens other than EOS or TRX. (A-187–89, ¶¶92–94; A-192–93, ¶98.)
And the statements regarding EOS and TRX (A-189–92, ¶¶95, 96, 97) almost all
occurred well outside the limitations period (in 2017 and 2018) and do not
demonstrate “continuous solicitation” in any event.

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Absent such allegations, defendants cannot be “statutory sellers” subject to Section

12 liability.

III.   Plaintiffs’ Claims Under Section 29(b) of the Exchange Act Are Barred
       by the One-Year Statute of Limitations

       The District Court correctly determined that plaintiffs’ Section 29 claims

were untimely because plaintiffs could, with reasonable diligence, have discovered

the facts underlying the violations on which they sued more than a year before

April 2020. (SPA-6-7.) Plaintiffs argue that Section 29’s one-year statute of

limitations runs from the date of each purchase (App. Br. 29), but they are wrong.

       The one-year statute of limitations for Section 29 claims—like other federal

securities claims—runs from the date that a “reasonably diligent plaintiff would

have discovered the facts constituting the [alleged] violation”. Merck & Co. v.

Reynolds, 559 U.S. 633, 637 (2010) (internal quotation marks omitted); see also id.

at 646 (applying this rule to Exchange Act claims (citing Lampf, Pleva, Lipkind,

Prupis & Petigrow v. Gilbertson, 501 U.S. 350, 362 (1991)); see also Alpha Cap.

Anstalt v. Oxysure Sys., Inc., 216 F. Supp. 3d 403, 408 (S.D.N.Y. 2016) (applying

this rule specifically to Section 29 claim (citing Ceres Partners v. GEL Assocs.,

918 F.2d 349, 358–59 (2d Cir. 1990))); accord Kahn v. Kohlberg, Kravis, Roberts

& Co. (“KKR”), 970 F.2d 1030, 1038–39, 1042 (2d Cir. 1992) (indicating that

one-year statute of limitations running from “discovery of the claim” “applicable to


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various provisions of the 1933 and 1934 Acts” impliedly applies to non-fraud

rescission claims under Section 29).

      Section 29 renders certain contracts—not necessarily transactions—voidable

if they violate the Exchange Act. 15 U.S.C. § 78cc(b); see also Dervan v. Gordian

Grp. LLC, 2017 WL 819494, at *8 (S.D.N.Y. Feb. 28, 2017). Plaintiffs allege that

their contracts with Binance were illegal because Binance operated as an

unregistered exchange and broker-dealer; thus, the relevant question is when they

could—with reasonable diligence—have discovered these purported violations.

      As demonstrated below and not contested on appeal, the only contracts

plaintiffs allege they had with Binance are the terms of use. (A-265, 268, ¶¶375,

386.) Because every plaintiff alleges that it began transacting on Binance

“pursuant to and consistent with its Terms of Use” more than one year before filing

the complaint,18 plaintiffs necessarily had already entered into those terms with

Binance by that time. Thus, to survive Section 29’s one-year statute of limitations,

plaintiffs must allege that a reasonably diligent plaintiff would have been unaware

that Binance was not a registered exchange or broker-dealer until months after

agreeing to Binance’s terms of use.




18
   A-265, ¶375; A-15–149; A-523–24 (showing that each plaintiff’s first
transaction on Binance occurred no later than May 2018).

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       The District Court correctly determined that the complaint alleges no facts

that could support such a claim. (SPA-6–7.) Binance’s lack of registration with

the SEC was at all relevant times discoverable by searching the SEC website. (See

A-525–536 (lists of national securities exchanges and active broker-dealers on

SEC’s website).) Reasonably diligent plaintiffs would have discovered publicly

available information on a government website. Notably, plaintiffs do not allege

that they were ever unaware of Binance’s registration status, and do not point to a

single allegation that this information was unknown or unavailable to them. Nor

do they argue that Binance or anyone else misrepresented Binance’s registration

status—and, by admitting that their claims are not based on fraud (App. Br. 27

n.9), plaintiffs have waived any such argument. Most critically, plaintiffs allege

that Binance advised its customers to access its website using VPNs because it was

“well known that VPNs are necessary for U.S. purchasers to access unregistered

crypto asset-exchanges, like Binance.” (A-254, ¶330 (emphasis added); see also

A-184, ¶82.) Common knowledge, by definition, is discoverable through

reasonable diligence. Plaintiffs argue that it does not follow from this allegation

that they actually knew that Binance was unregistered (Pls. Br. at 28–29), but what

plaintiffs actually knew is irrelevant.19 What is relevant is the information they


19
  Plaintiffs point to their allegation that investors would not have known the
Tokens were securities “prior to the guidance released by the SEC on April 3,
(….continued)
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could have discovered with reasonable diligence, and plaintiffs’ allegation that it

was “widely known” (A-184, ¶82) that VPNs were necessary for accessing

unregistered crypto exchanges establishes that a person exercising “reasonable

diligence” would have been able to determine that Binance was unregistered from

the date of entry into Binance’s terms of use, if not sooner. See, e.g. KKR, 970

F.2d at 1042 (claim under analogous provision of Investment Advisers Act was

time-barred because defendant’s lack of registration was “a matter of public

record”).

      Doomed by these admissions, plaintiffs attempt to move the goalposts. They

claim that the one-year limitations period for Section 29(b) claims should not run

from the execution of the purportedly violative contract—even if a reasonably

diligent plaintiff would have been aware of the alleged illegality when the contract

was executed. Instead, plaintiffs argue, the limitations period should restart on the

date of each transaction entered into pursuant to the contract. This makes no sense.




2019,” claiming that this allegation is somehow relevant to the timeliness of their
rescission claim. (App. Br. 29.) It is not. The District Court determined that the
Framework did not provide a basis for tolling because it “did not reveal new facts.”
SPA-7; see also In re Bibox Group Holdings Ltd. Securities Litigation, 534 F.
Supp. 3d 326, 339 (S.D.N.Y. 2021) (reaching the same holding). Plaintiffs do not
appeal that ruling. (App. Br. 2 n.2) Since, as is uncontested, the Framework
revealed no new facts about whether the Tokens are securities, its release can have
no bearing on when a reasonably diligent plaintiff would have discovered the facts
underlying the claim.

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Whether a contract is voidable under Section 29 does not depend on whether any

particular securities transaction made pursuant to that contract violates the

Exchange Act. What matters is whether the contract is “made in violation of” the

Exchange Act and the Rules thereunder. 15 USC § 78cc(b) (emphasis

added). When the contract is “made” is dispositive: If, at the time it is made, the

contract is capable of being performed in a manner that does not violate the

Exchange Act, it is not actionable. See EMA Fin., LLC v. Vystar Corp., 336 F.R.D.

75, 82 (S.D.N.Y. 2020) (party could “rescind the contracts [under Section 29(b)]

only if they were illegal at the time they were made, not because [counterparty]

later engaged in an illegal transaction” (emphasis added)). How the contract is

later performed is irrelevant, if it does not require an illegal act “on its face.” See,

e.g., Subin v. Goldsmith, 224 F.2d 753, 762 (2d Cir. 1955) (because section 29(b)

“relates solely to a contract made in violation of ‘any provision’ of the Act or of

‘any rule or regulation thereunder,’” claim failed where “the contract itself was not

thus violative . . . even if the allegations stated a violation” (emphasis added));

Tanzanian Royalty Expl. Corp. v. Crede CG III, Ltd., 2019 WL 1368570, at *13

(S.D.N.Y. Mar. 26, 2019) (contract not voidable because it did not “‘on its face’

require[] the performance of an illegal act”); Omega Overseas Partners, Ltd. v.

Griffith, 2014 WL 3907082, at *4 (S.D.N.Y. Aug. 7, 2014) (Sullivan, J.)

(recognizing that Section 29(b) reaches only contracts that facially violate

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Exchange Act or cannot be performed without violation); cf. Oxford Univ. Bank v.

Lansuppe Feeder, LLC, 933 F.3d 99, 109 (2d Cir. 2019) (affirming dismissal of

analogous Investment Company Act claim for failure to “identif[y] any provision

of the [contract] whose performance would violate the ICA”).

      Plaintiffs’ contrary arguments (App. Br. 29–30) misconstrue the cases they

cite, which actually support the District Court’s conclusion that contracts are not

voidable under Section 29 unless they violate the Exchange Act when made. For

example, in Slomiak v. Bear Stearns & Co., the plaintiff sought rescission of

customer agreements under Section 29(b) based on the defendant’s failure to

provide certain disclosures, but the court held that rescission was unavailable

because the contract was not illegal on its face and did not require the performance

of an illegal act. 597 F. Supp. 676, 681–83 (S.D.N.Y. 1984) (distinguishing case

where “there could be no performance under the contract without violating the

Act”). Similarly, in EMA Fin., LLC v. NFusz, Inc., the court expressed doubt that a

Section 29(b) claim would have any merit where the complaining party could not

“identif[y] any provision” of the contract sought to be rescinded “that requires

[unregistered individual] to register as a broker.” 509 F. Supp. 3d 18, 37 n.22

(S.D.N.Y. 2020). “In this District,” the EMA court affirmed, “such a link is

essential.” Id. Under these cases, Section 29(b) claims turn on the validity of the

allegedly illegal contract. To seek rescission, a plaintiff need not wait until an

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illegal transaction has occurred pursuant to the illegal contract, because any such

subsequent transactions are irrelevant to the claim. A Section 29(b) claim

therefore accrues—and the one-year limitations period begins to run—when the

allegedly illegal contract is signed.

      Plaintiffs also attempt to find support for their argument in Section 29(b)’s

special statute of limitations for fraud-induced transactions, which runs from the

occurrence of a “sale or purchase.” (App. Br. 29 (discussing 15 U.S.C.

§ 78cc(b)).) In discussing this provision, plaintiffs completely fail to clarify that it

applies only to claims seeking rescission based on a “violation of any rule or

regulation prescribed pursuant to paragraph (1) or (2) of subsection (c) of section

78o of this title,” 15 U.S.C. § 78cc(b)—i.e., claims seeking rescission based on

fraud, manipulation and deception, see 15 U.S.C. § 78o(c)(1)–(2). As plaintiffs

concede, however, the complaint does not allege any transactions induced by

fraud. (App. Br. 27–28 n.9.) Therefore, the one-year statute of limitations for

plaintiffs’ claims is not Section 29(b)’s express statute of limitations for fraud-

based transactions. Rather, it is the borrowed one-year statute of limitations drawn

from express causes of action under the Securities Act and Exchange Act. See

Lampf, 501 U.S. at 362 (holding that “1-year period after discovery” found in

Exchange Act applies to causes of action elsewhere in Exchange Act absent

express limitations period); Ceres Partners, 918 F.2d at 363 (same); Alpha Cap.

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Anstalt, 216 F. Supp. 3d at 408 (“There is a one-year statute of limitations for any

implied cause of action under Section 29(b) of the Exchange Act.” (citing Ceres,

918 F.2d at 358–59)).

      Plaintiffs next attempt to analogize to the limitations period for rescission

actions under the Investment Advisers Act. (App. Br. at 32.) In doing so, they

misread KKR, where this Court rejected the plaintiffs’ argument that the limitations

period for their rescission claim had not yet started because the defendant’s

conduct constituted a “continuing wrong.” 970 F.2d at 1039. Drawing from the

“sales transaction theory,” under which “the wrong occurs when the plaintiff

makes a completed sales transaction,” such that “subsequent payments on [that]

transaction[] affect the amount of damages but do not constitute separate wrongs”

for statute of limitations purposes, this Court reasoned that where a plaintiff seeks

to void a contract on the basis that it mandates illegal actions, it is entry into the

contract that constitutes the wrong, not the subsequent illegal actions. Id. at 1041–

42. Applying that core principle, this Court concluded that “on the claim for

rescission of the 1987 Agreement, … the wrong occurred in 1987” and the claim

was therefore time-barred. Id. at 1042 (emphasis added). The logic of KKR thus

confirms that the limitations period applicable to plaintiffs’ Section 29(b) claims

runs from their entry into Binance’s terms of use, and mandates rejection of their



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argument that the limitations period restarts with each transaction pursuant to the

contract.20

      Plaintiffs assert that commencing the limitations period upon their entry into

Binance’s terms of use is in “hopeless tension” with the language of Section 29

(App. Br. 30), but it is plaintiffs’ approach that cannot be squared with Section 29.

As demonstrated above, a Section 29 claim accrues upon discovery of the facts

constituting the violation, which, here, is the same time as plaintiffs’ entry into the

allegedly violative contracts. Contrary to plaintiffs’ suggestion, this rule does not

engraft a “knowledge defense” onto Section 29, nor does it “shorten” the

limitations period. Rather, it faithfully applies the one-year constructive

knowledge standard applicable to Section 29 and the other express federal

securities claims in the Exchange Act, which turns on what a person exercising

reasonable diligence would have discovered. Because that statute of limitations

bars any claims that were not asserted within one year of their discovery, and

because it is apparent from the face of the complaint and the documents


20
   Celsion Corp. v. Stearns Mgmt. Corp., 157 F. Supp. 2d 942 (N.D. Ill. 2001),
cited by plaintiffs (App. Br. 32), likewise rejects their position. There, the court
held that even assuming the plaintiff had alleged a “continuing violation” that was
not barred by the three-year statute of repose, its Section 29(b) claim was still
untimely under the statute of limitations, because the plaintiff filed suit more than a
year after it was aware that the defendant was not a registered broker-dealer, and
“it is the discovery of the facts constituting the violation that starts the one-year
period of limitations.” Id. at 948 (citations and internal quotations omitted).

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incorporated by reference and subject to judicial notice that plaintiffs could have

discovered their claims at the time they entered into the contracts, their Section 29

claims are untimely and the District Court properly dismissed them.

IV.   The District Court Properly Dismissed All the State Law Claims
      Asserted in the Complaint

      In a final attempt to save their case from complete dismissal, plaintiffs argue

that the District Court improperly dismissed certain of their state-law claims21 and

the state-law claims of absent class members. (App. Br. 38–42.) As a threshold

matter, as discussed above, the state laws under which plaintiffs purport to assert

claims, like the federal securities laws on which they are modeled,22 do not apply




21
  Specifically, plaintiffs continue to assert that they have cognizable claims under
the Blue Sky laws of Texas, Puerto Rico, and Nevada. (App. Br. 38–41.) They do
not defend the dismissal of their Florida and California state-law claims on appeal
and have therefore abandoned them. See, e.g., Norton v. Sam’s Club, 145 F.3d
114, 117 (2d Cir. 1998) (issues not briefed are waived).
22
   See, e.g., Nat’l Credit Union Admin. Bd. v. Morgan Stanley & Co., 2014 WL
241739, at *12–13 (S.D.N.Y. Jan. 22, 2014) (“Texas courts have generally adopted
federal securities law when analyzing” Texas Securities Act, which was modeled
after federal Securities Act); SDM Holdings, Inc. v. UBS Fin. Servs., Inc. of Puerto
Rico, 2016 WL 9461324, at *6 (D.P.R. Mar. 1, 2016) (Puerto Rico Uniform
Securities Act claims are “for all practical purposes a verbatim repetition of
[Exchange Act] claim[s]”), report and recommendation adopted sub nom. Roman
v. UBS Fin. Servs., Inc. of Puerto Rico, 2016 WL 940664 (D.P.R. Sept. 30, 2016).

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extraterritorially, and plaintiffs’ claims under those laws were properly dismissed.

(See supra Point I.)

      Having properly dismissed all claims that plaintiffs assert in their own

names, the District Court rightly dismissed the state-law claims they purportedly

brought on behalf of absent putative class members. “In a class action, ‘federal

courts lack jurisdiction if no named plaintiff has standing’” McMorris v. Carlos

Lopez & Assocs., LLC, 995 F.3d 295, 299 (2d Cir. 2021) (quoting Frank v. Gaos,

139 S. Ct. 1041, 1046 (2019)); see also In re GE/CBPS Data Breach Litig, 2021

WL 3406374, at *13 (S.D.N.Y. Aug. 4, 2021) (dismissing claim where plaintiff

“has not adequately pleaded facts showing cognizable deceptive conduct,” and

declining to address absent class members’ claims). Under the law of this Circuit,

a named plaintiff has “class standing” to assert absent class members’ claims only

where the named plaintiff itself “personally suffered injury as a result of” the

defendants’ alleged conduct and “such conduct implicates the same set of concerns

as the conduct alleged to have caused injury to other members of the putative class

by the same defendants.” NECA-IBEW Health & Welfare Fund v. Goldman Sachs

& Co., 693 F.3d 145, 162 (2d Cir. 2012) (internal quotations omitted). A

plaintiff’s claim will implicate the “same set of concerns” as the claims of absent

class members where the claims all turn on the same proof. See id. at 163. But

when a plaintiff has no viable claims of its own, there can be no common proof and

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the claims of absent class members necessarily will not involve the same set of

concerns. The Southern District of New York recently applied these principles in

dismissing state law claims in one of plaintiffs’ other, nearly identical

cryptocurrency cases, holding that “courts typically address only the state law

claims of the named plaintiff at the motion to dismiss stage and do not address the

standing and merits arguments with respect to the additional state law claims

unless and until the motion to dismiss is denied and a motion for class certification

is granted.” Bibox, 534 F. Supp. 3d at 334 (emphasis added).

      The same rule applies here. Plaintiffs concede that they cannot assert claims

under the laws of states in which they do not allege they transacted. They simply

contest that it was proper to dismiss claims purportedly belonging to unnamed

class members, even where all the named plaintiffs’ claims have been dismissed.

As in Bibox, plaintiffs cannot purport to represent the claims of unnamed class

members when they have failed to raise any actionable claim on their own behalf.

Complete dismissal of a class action complaint is unquestionably appropriate

when, as here, all named plaintiffs fail to assert an actionable claim. Bibox, 534 F.

Supp. 3d at 338–41.

      The cases upon which plaintiffs rely are inapposite. Each case, unlike this

one, involved named plaintiffs who had at least one viable claim to assert in their

own right. See Langan v. Johnson & Johnson Consumer Cos., Inc., 897 F.3d 88,

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93 (2d Cir. 2018); In re Asacol Antitrust Litig., 907 F.3d 42, 48–49 (1st Cir. 2018).

Here, the only issue the Court need decide is whether lead plaintiffs with no

actionable claims of their own may continue representing the claims of unnamed

class members. Logic and precedent dictate that the answer is no.

                                  CONCLUSION

      For the foregoing reasons, this Court should affirm the judgment below.



Dated: October 27, 2022
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                      CERTIFICATE OF COMPLIANCE

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      1.    This brief complies with the type-volume limitation of Local Rule

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